Case 3:08-cv-00064-WGH-RLY       Document 33   Filed 08/03/09     Page 1 of 1 PageID #:
                                       100


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                             EVANSVILLE DIVISION


SCOTT ADAMS,                               )
(Social Security No. XXX-XX-2012),         )
                                           )
                         Plaintiff,        )
                                           )
           v.                              )      3:08-cv-64-WGH-DFH
                                           )
MICHAEL J. ASTRUE, COMMISSIONER            )
OF SOCIAL SECURITY,                        )
                                           )
                         Defendant.        )



                          FINAL JUDGMENT ENTRY

      For the reasons outlined in the Memorandum Decision and Order entered

on this date, the final decision of the Commissioner is AFFIRMED, and this case

is DISMISSED with each party to bear its own costs.



Entered: August 3, 2009



Laura Briggs, Clerk
U.S. District Court


By:___________________________                      __________________________
          Deputy Clerk                               William G. Hussmann, Jr.
                                                     United States Magistrate Judge
                                                     Southern District of Indiana

Electronic copies to:

J. Michael Woods                         Thomas E. Kieper
WOODS & WOODS                            UNITED STATES ATTORNEY'S OFFICE
mwoods@woodslawyers.com                  tom.kieper@usdoj.gov
